Case 8:15-cv-02513-VMC-AEP Document 24 Filed 06/28/16 Page 1 of 1 PageID 104



                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

   JONATHAN NOVAK,

          Plaintiff,
   vs.                                                    CASE NO.: 8:15-cv-02513-VMC-AEP

   CREDIT PROTECTION ASSOCIATION, L.P.,

          Defendant.                                  /

                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

          COME NOW the Defendant, CREDIT PROTECTION ASSOCIATION, L.P.,

   and the Plaintiff, JONATHAN NOVAK, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii),

   hereby stipulate to dismiss with prejudice each claim and count asserted by Plaintiff

   against Defendant in the above-styled action. Plaintiff and Defendant shall each bear

   their own attorneys' fees, costs and expenses.

          Respectfully submitted this 28th day of June, 2016.

   THE CONSUMER PROTECTION FIRM, PLLC                     HINSHAW & CULBERTSON LLP


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